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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


In re:                                         Chapter 11

GREAT BASIN, LLC,                              Case No. 24-11966 (JKS)

             Debtor.

Tax I.D. No. 6158


In re:                                         Chapter 11

BIG LOTS, INC.,                                Case No. 24-11967 (JKS)

             Debtor.

Tax I.D. No. 9097


In re:                                         Chapter 11

BIG LOTS MANAGEMENT, LLC,                      Case No. 24-11969 (JKS)

             Debtor.

Tax I.D. No. 7948


In re:                                         Chapter 11

CONSOLIDATED PROPERTY HOLDINGS,                Case No. 24-11968 (JKS)
LLC,

             Debtor.

Tax I.D. No. 0984
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In re:                                           Chapter 11

BROYHILL LLC,                                    Case No. 24-11971 (JKS)

             Debtor.

Tax I.D. No. 7868


In re:                                           Chapter 11

BIG LOTS STORES – PNS, LLC,                      Case No. 24-11970 (JKS)

             Debtor.

Tax I.D. No. 5262


In re:                                           Chapter 11

BIG LOTS STORES, LLC,                            Case No. 24-11973 (JKS)

             Debtor.

Tax I.D. No. 6811


In re:                                           Chapter 11

BLBO TENANT, LLC,                                Case No. 24-11972 (JKS)

             Debtor.

Tax I.D. No. 0552


In re:                                           Chapter 11

BIG LOTS STORES – CSR, LLC,                      Case No. 24-11976 (JKS)

             Debtor.

Tax I.D. No. 6182




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In re:                                           Chapter 11

CSC DISTRIBUTION LLC,                            Case No. 24-11974 (JKS)

             Debtor.

Tax I.D. No. 8785


In re:                                           Chapter 11

CLOSEOUT DISTRIBUTION, LLC,                      Case No. 24-11978 (JKS)

             Debtor.

Tax I.D. No. 0309


In re:                                           Chapter 11

DURANT DC, LLC,                                  Case No. 24-11975 (JKS)

             Debtor.

Tax I.D. No. 2033


In re:                                           Chapter 11

AVDC, LLC,                                       Case No. 24-11981 (JKS)

             Debtor.

Tax I.D. No. 3400


In re:                                           Chapter 11

GAFDC LLC,                                       Case No. 24-11977 (JKS)

             Debtor.

Tax I.D. No. 8673




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In re:                                           Chapter 11

PAFDC LLC,                                       Case No. 24-11982 (JKS)

              Debtor.

Tax I.D. No. 2377


In re:                                           Chapter 11

WAFDC, LLC,                                      Case No. 24-11979 (JKS)

              Debtor.

Tax I.D. No. 6163


In re:                                           Chapter 11

INFDC, LLC,                                      Case No. 24-11983 (JKS)

              Debtor.

Tax I.D. No. 2820


In re:                                           Chapter 11

BIG LOTS ECOMMERCE LLC,                          Case No. 24-11980 (JKS)

              Debtor.

Tax I.D. No. 9612


In re:                                           Chapter 11

BIG LOTS F&S, LLC,                               Case No. 24-11984 (JKS)

              Debtor.
                                                 Re: D.I. 2
Tax I.D. No. 3277




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       ORDER DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES

          Upon the motion (the “Motion”)1 of Big Lots, Inc. and certain of its affiliates (collectively,

the “Debtors”), each of which is a debtor and debtor in possession in the Chapter 11 Cases, for

entry of an order pursuant to Bankruptcy Rule 1015(b) and Local Rule 1015-1, directing the joint

administration of the Chapter 11 Cases for procedural purposes only, as more fully described in

the Motion; and the Court having jurisdiction to consider the Motion and the relief requested

therein pursuant to 28 U.S.C. § 157 and § 1334 and the Amended Standing Order of Reference

from the United States District Court for the District of Delaware, dated February 29, 2012; and

the Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157; and the Court

having found that it may enter a final order consistent with Article III of the United States

Constitution; and the Court having found that venue of the Chapter 11 Cases and related

proceedings being proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409; and due and

proper notice of the Motion having been provided to the Notice Parties, such notice having been

adequate and appropriate under the circumstances, and it appearing that no other or further notice

need be provided; and the Court having reviewed and considered the Motion and the Ramsden

Declaration; and the Court having held a hearing to consider the relief requested in the Motion (the

“Hearing”); and the Court having determined that the legal and factual bases set forth in the

Motion and the Ramsden Declaration and at the Hearing establish just cause for the relief granted

herein; and the Debtors having submitted that the relief requested in the Motion is in the best

interests of the Debtors, their creditors, their estates, and all other parties in interest; and the Court

having determined that the relief requested in the Motion is necessary to avoid immediate and



          1
              Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Motion.



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irreparable harm to the Debtors and their estates as contemplated by Bankruptcy Rule 6003; and

all objections and reservations of rights filed or asserted in respect of the Motion, if any, having

been withdrawn, resolved, or overruled; and upon all of the proceedings had before the Court; and

after due deliberation and sufficient cause appearing therefor,

IT IS HEREBY ORDERED THAT:

           1.    The Motion is granted to the extent set forth in this order (this “Order”).

           2.    The Chapter 11 Cases are consolidated for procedural purposes only and shall be

jointly administered by the Court under the case number assigned to Big Lots, Inc., Case No.

24-11967.

           3.    Nothing in this Order shall be deemed or construed as directing or otherwise

affecting the substantive consolidation of any of the Chapter 11 Cases, the Debtors, or the Debtors’

estates.

           4.    The caption of the jointly administered Chapter 11 Cases shall read as follows:

                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                             Chapter 11

BIG LOTS, INC., et al.,                                            Case No. 24-11967 (JKS)

                 Debtors.1                                         (Jointly Administered)




         1
            The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective employer identification numbers, are as follows: Great Basin, LLC (6158); Big Lots, Inc. (9097); Big Lots
Management, LLC (7948); Consolidated Property Holdings, LLC (0984); Broyhill LLC (7868); Big Lots Stores -
PNS, LLC (5262); Big Lots Stores, LLC (6811); BLBO Tenant, LLC (0552); Big Lots Stores - CSR, LLC (6182);
CSC Distribution LLC (8785); Closeout Distribution, LLC (0309); Durant DC, LLC (2033); AVDC, LLC (3400);
GAFDC LLC (8673); PAFDC LLC (2377); WAFDC, LLC (6163); INFDC, LLC (2820); Big Lots eCommerce LLC
(9612); and Big Lots F&S, LLC (3277). The address of the debtors’ corporate headquarters is 4900 E. Dublin-
Granville Road, Columbus, OH 43081.




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       5.      A docket entry shall be entered on the docket in each of the Chapter 11 Cases (other

than the Chapter 11 Case of Big Lots, Inc.) substantially as follows:

       An order has been entered in this case in accordance with rule 1015(b) of the
       Federal Rules of Bankruptcy Procedure and Rule 1015-1 of the Local Rules of
       Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the
       District of Delaware directing the joint administration of this case solely for
       procedural purposes with the chapter 11 cases of Big Lots, Inc., Great Basin, LLC,
       Big Lots Management, LLC, Consolidated Property Holdings, LLC, Broyhill LLC,
       Big Lots Stores - PNS, LLC, Big Lots Stores, LLC, BLBO Tenant, LLC, Big Lots
       Stores - CSR, LLC, CSC Distribution LLC, Closeout Distribution, LLC, Durant
       DC, LLC, AVDC, LLC, GAFDC LLC, PAFDC LLC, WAFDC, LLC, INFDC,
       LLC, Big Lots eCommerce LLC, and Big Lots F&S, LLC. All further pleadings
       and other papers shall be filed in, and all further docket entries shall be made
       in, Case No. 24-11967.

       6.      The requirement of section 342(c)(1) of the Bankruptcy Code and Bankruptcy Rule

2002(n) for the inclusion of the Debtors’ full tax identification numbers in the captions for the

Debtors’ filings with the Court and notices sent to creditors is waived.

       7.      The Debtors shall maintain, and the Clerk of the United States Bankruptcy Court

for the District of Delaware shall keep, one consolidated docket, one file, and one consolidated

service list for the Chapter 11 Cases.

       8.      Nothing in this Order affects any requirement that any creditor filing a proof of

claim against any of the Debtors shall clearly assert such claim against the particular Debtor

obligated on the claim and not against the jointly administered Debtors.

       9.      Any Bankruptcy Rule or Local Rule that might otherwise delay the effectiveness

of this Order is hereby waived, and the terms and conditions of this Order shall be effective and

enforceable immediately upon its entry.

       10.     The Debtors are authorized to take any action necessary or appropriate to

implement and effectuate the terms of, and the relief granted in, this Order without seeking further

order of the Court.



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       11.     The Court shall retain jurisdiction over any matter arising from or related to the

implementation, interpretation, and enforcement of this Order.




                                                           J. KATE STICKLES
      Dated: September 10th, 2024
                                                           UNITED STATES BANKRUPTCY JUDGE
      Wilmington, Delaware



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